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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al.,1                                       Case No. 22-11068 (JTD)

         Debtors.                                                (Joint Administration Pending)




                          SUPPLEMENTAL DECLARATION OF JOHN J. RAY III
                               IN SUPPORT OF FIRST DAY PLEADINGS

                     I, John Jr. Ray III, hereby declare under penalty of perjury as follows:

                     1.      I am the Chief Executive Officer of the above-captioned debtors and

debtors-in-possession (collectively, the “Debtors”).

                     2.      To organize the conduct of the Debtors’ chapter 11 cases, with the

assistance of the Debtors’ advisors, I have organized the Debtors into four “silos” for

organizational purposes. Four Debtors were not initially allocated to any silo: Paper Bird Inc,

Hilltop Technology Services LLC, Cedar Grove Technology Services, Ltd and Deck

Technologies Holdings LLC. After review, I have decided to include Paper Bird Inc, Hilltop

Technology Services LLC and Cedar Grove Technology Services, Ltd in the “Ventures Silo” for

organizational purposes and, pursuant to my authority under the Omnibus Corporate Authority,

dated November 11, 2022, to appoint Rishi Jain as sole director of each of these Debtors.

                     3.      I have not yet decided the appropriate silo for Deck Technologies Holdings

LLC.




1
    The last four digits of FTX Trading Ltd.’s tax identification number are 3288. Due to the large number of
    debtor entities in these Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal
    tax identification numbers is not provided herein. A complete list of such information may be obtained on the
    website of the Debtors’ proposed claims and noticing agent at https://cases.ra.kroll.com/FTX.


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                     4.   Attached as Schedule 1 is an updated organizational chart showing this

change.



Dated: November 21, 2022                                 /s/ John J. Ray III
                                                         Name: John J. Ray III
                                                         Title: Chief Executive Officer




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                                           Schedule 1




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                                                                                                        FOUR SILOS FOR RECOVERY PURPOSES




                 Third Party
                  Investors
                                                                                                                       Sam Bankman-Fried                                                                                  Third Party
                                                                                                                                                                                                                           Investors



             22.25%                                                                                                                                                                                                              25.0%

                              52.99%                                                                    90.0%                                                100% *                                               75.0%



                                       16.93%: Gary Wang                                                         10.0%: Gary Wang

                                       7.83%: Nishad Singh




                        WRS SILO                                                            ALAMEDA SILO                                        VENTURES SILO                                           DOTCOM SILO
               Independent Director: Mitchell Sonkin                                    Independent Director: Matt Rosenberg                    Independent Director: Rishi Jain            Independent Directors: Joseph Farnan and Matt Doheny




                                                                                                                         Indicative Assets by Silo


      Cash and Cash Equivalents                                                Cash and Cash Equivalents                               Venture Investments                              Cash and Cash Equivalents
      Cryptocurrency                                                           Cryptocurrency                                            Anthropic                                      Cryptocurrency
      FTX US                                                                   Other Digital Assets                                      K5                                             FTX.com
      LedgerX                                                                  Treasuries                                                Dave Inc.                                      Real Estate
      FTX Derivatives                                                          Crypto ETFs                                               Sequoia Capital                                Licensed Subsidiaries in Non-US
      FTX Capital Markets                                                      Venture Investments                                       Mysten Labs                                     Jurisdictions
      Embed Clearing                                                             Genesis Digital Assets                                  Others
      FTX Vault                                                                  Modulo Capital
      FTX Gaming                                                                 Pionic (Toss)
      FTX NFTs                                                                   Others
      BlockFi Loans




* Certain entities in the Venture Silo may have interests directly or indirectly held by Gary Wang and Nishad Singh.
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      PRELIMINARY ORGANIZATIONAL CHART
       Last updated: Draft of November 20, 2022


                                                                                                                                                                                                                Sam Bankman-Fried (majority) | Gary Wang | Nishad Singh *

              Third Party
               Investors



                      22.25%                                             77.75%                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Third Party
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      Investors
                                               West Realm Shires Inc.                                                                     Deck Technologies
                                                                                                                                            Holdings LLC
                                                                                                                                                                                                          Alameda Research LLC                                                                               Clifton Bay Investments LLC                             Hilltop
                                                                                                                                                                                                                                                                                                                                                                  Technology
                                                                                                                                                                                                                                                                                                                                                                                               Cedar Grove
                                                                                                                                                                                                                                                                                                                                                                                            Technology Services,               Paper Bird Inc
                                                                                                                                                                                                                                                                                                                                                                 Services LLC                       Ltd                          (Delaware)
                                                             (Delaware)                                                                      (Delaware)
                                                                                                                                                                                                                           (Delaware)                                                                                  (Delaware)                                  (Delaware)                    (Antigua)




                   Hawaii Digital                                                      Good Luck Games,     FTX Marketplace,                                                                                   Verdant Canyon           Alameda Research              North Wireless
                                        FTX Lend Inc.        Pioneer Street Inc.                                                                                                 Hannam Group Inc
                    Assets Inc.
                    (Delaware)           (Delaware)              (Delaware)
                                                                                             LLC.
                                                                                          (Delaware)
                                                                                                                  Inc.
                                                                                                               (Delaware)
                                                                                                                                                                                      (Korea)
                                                                                                                                                                                                                 Capital LLC
                                                                                                                                                                                                                  (Delaware)
                                                                                                                                                                                                                                               KK
                                                                                                                                                                                                                                             (Japan)
                                                                                                                                                                                                                                                                      Dimension Inc
                                                                                                                                                                                                                                                                        (Delaware)                                                                                                                                                                                 ~80%                        ~12.5%                   ~7.5%
                                                                                                                                                                                                                                                                                                                           Clifton Bay
                                                                                                                                                                                                                                                                                                                        Investments Ltd
                                                                                                                                                                                                                                                                                                                                                                                            Island Bay
                                                                                                                                                                                                                                                                                                                                                                                           Ventures Inc
                                                                                                                                                                                                                                                                                                                                                                                                                       FTX Ventures Ltd                                FTX Trading Ltd
                 West Realm Shires
                                                              Embed Financial           Ledger Holdings
                                                                                                           West Realm Shires
                                                                                                                                                                                    North Dimension                                      Alameda Global
                                                                                                                                                                                                                                                                                                                               (BVI)                                                        (Delaware)
                                                                                                                                                                                                                                                                                                                                                                                                                            (BVI)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          (Antigua)
                 Financial Services
                        Inc.
                                      Digital Custody Inc.
                                           (Delaware)
                                                              Technologies Inc.
                                                                 (Delaware)
                                                                                              Inc.
                                                                                           (Delaware)
                                                                                                             Services Inc.
                                                                                                             d/b/a FTX US
                                                                                                                                                                                          Inc
                                                                                                                                                                                       (Delaware)
                                                                                                                                                                                                               Alameda TR Ltd
                                                                                                                                                                                                                  (Antigua)
                                                                                                                                                                                                                                          Services Ltd.
                                                                                                                                                                                                                                              (BVI)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              ~49%
                     (Delaware)                                                                               (Delaware)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          ~51%

                                                                                                                                                                                 Alameda Research             Alameda Research
                                                                                                                                                                                                                                        Ledger Prime LLC
                                                                                                                                                                                    Holdings Inc.                    Ltd                                                                                                                                                                                             FTX TURKEY
                                                                                                                                                                                                                                           (Delaware)                                                                                                                                                                                          FTX Digital                 Technology
                                                                                                                                                                                     (Delaware)                     (BVI)                                                                                                                                                                                           TEKNOLOJİ VE                                                                   FTX Equity Record                           FTX Digital Markets      Crypto Bahamas
                                                                                                                                                                                                                                                                                                                                                                   LT Baskets Ltd.        FTX Zuma Ltd                                          Holdings                Services Bahamas                                 FTX (Gibraltar) Ltd                                                 FTX Canada Inc      Blockfolio, Inc.
                                                                                                                                                                                                                                                                                                                                                                                                                   TİCARET ANONİM                                                                    Holdings Ltd                                     Ltd                     LLC
                                                                                                                                                                                                                                                                                                                                                                      (Antigua)             (Nigeria)                                      (Singapore) Pte Ltd               Limited                                         (Gibraltar)                                                        (Canada)           (Delaware)
                                                                                                                                                                                                                                                                                                                                                                                                                       ŞİRKET                                                                         (Seychelles)                                 (Bahamas)               (Delaware)
                                                                                                                                                                                                                                                                                                                                                                                                                                                (Singapre)                  (Bahamas)
                                        FTX Vault Trust                                                                                                                                                                                                                                                                                                                                                                (Turkey)
FTX Capital      FTX Digital Assets                           Embed Clearing                                FTX US Trading,    FTX US Services,
                                          Company                                        LedgerX LLC
Markets LLC            LLC                                        LLC.                                           Inc.                Inc.
                                      (South Dakota Trust                                 (Delaware)
 (Delaware)         (Delaware)                                  (Delaware)                                    (Delaware)          (Delaware)
                                           Company)                                                                                                                                                                                                                                         Non-Economic GP Interest                                                                                                Global Compass              West Innovative         Western Concord                                  Mangrove Cay Ltd      FTX Hong Kong Ltd         FTX Services         FTX Property
                                                                                                                                                                                                                                                                                                                                                                 Allston Way Ltd **     Bancroft Way Ltd **                                                                                        Deep Creek Ltd **                                                                          Holdings Ltd
                                                                                                                                                                                                                                                                                                                                                                                                                    Dynamics Ltd **              Barista Ltd **         Enterprises Ltd **                                      **                    **                 Solutions Ltd.
                                                                                                                                                                                                                                                                                                                                                                      (Antigua)              (Antigua)                                                                                                 (Antigua)                                                                               (Bahamas)
                                                                                                                                                                                                                                                                                                                                                                                                                       (Antigua)                   (Antigua)                (Antigua)                                        (Antigua)            (Hong Kong)                (BVI)
                                                                                                                                                                                                                                                                                LedgerPrime Digital
                                                                                                                                                                                                                                                   Sole LP Interest                    Asset
                                                                                                                                                                                                                                                                                   Opportunities
                                                                                                                                                                                                                                                                                  Master Fund LP                                                                                                                                                                            GG Trading
                                                                                                                                                                                                                                                                                     (Cayman)
                                                                                                                                                                                                                                                                                                                              Third Party                                                                          FTX Japan Services            FTX Japan
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            Terminal Ltd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     FTX Products         FTX Australia Pty                            FTX Malta Holdings
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                PT Triniti
                                                                                                                                                                                                                                                                                                                               Investors                           FTX Europe AG          FTX EMEA Ltd.                                                                        (Ireland)                                                         Innovatia Ltd                                 Investama
                                                                                                                                                                                                                                                                                                                                                                                                                           K.K.                 Holdings K.K.                                     (Singapore) Pte Ltd           Ltd                                          Ltd **
                                                                                                                                                                                                                                                                                                                                                                    (Switzerland)            (Cyprus)                                                                   *in process of being                                                        (Cyprus)                                    Berkat ***
                                                                                                                                                                                                                                                                                                                                                                                                                         (Japan)                   (Japan)                                            (Singapore)            (Australia)                                    (Malta)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                         transferred to FTX                                                                                                    (Indonesia)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             Trading Ltd
                                                                                                                                                                  Goodman                               Cottonwood                                         Cardinal Ventures
                                                                                                                                                               Investments Ltd                        Technologies Ltd           Euclid Way Ltd                   Ltd                                                                     90.1%
                                                                                                                                                                                                                                    (Antigua)                                                                                                             9.9%
                                                                                                                                                                     (BVI)                                (Antigua)                                            (Antigua)




                                                                                            KEY                                                                 Killarney Lake
                                                                                                                                                               Investments Ltd
                                                                                                                                                                                                      Alameda Research
                                                                                                                                                                                                           Pte Ltd
                                                                                                                                                                                                                                 North Dimension
                                                                                                                                                                                                                                        Ltd
                                                                                                                                                                                                                                                               Maclaurin
                                                                                                                                                                                                                                                           Investments Ltd.
                                                                                                                                                                                                                                                                                                                             Concedus Digital
                                                                                                                                                                                                                                                                                                                                  Assets
                                                                                                                                                                                                                                                                                                                                                  CM-Equity AG
                                                                                                                                                                                                                                                                                                                                                                  FTX Structured
                                                                                                                                                                                                                                                                                                                                                                 Products AG (f/k/a
                                                                                                                                                                                                                                                                                                                                                                   DAAG Capital
                                                                                                                                                                                                                                                                                                                                                                                          DAAG Trading,
                                                                                                                                                                                                                                                                                                                                                                                             DMCC
                                                                                                                                                                                                                                                                                                                                                                                                                    FTX Certificates
                                                                                                                                                                                                                                                                                                                                                                                                                        GmbH
                                                                                                                                                                                                                                                                                                                                                                                                                                                              Quoine Pte Ltd
                                                                                                                                                                                                                                                                                                                                                                                                                                                             (to be renamed to
                                                                                                                                                                                                                                                                                                                                                                                                                                                            FTX Singapore Pte
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Liquid Securities
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Singapore Pte Ltd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          FTX Express Pty
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                Ltd            Zubr Exchange Ltd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       FTX Malta Gaming
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       Services Limited **
                                                                                                                                                                     (BVI)                               (Singapore)                   (BVI)                  (Seychelles)                                                                         (Germany)                                                                                                                                   **                                                  (Gibraltar)
                                                                                                                                                                                                                                                                                                                                (Germany)                              GmbH)                 (UAE)                   (Switzerland)                                   Ltd)                                                    (Australia)                                     (Malta)
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          (Singapore)
                                                                                                                                                                                                                                                                                                                                                                   (Liechtenstein)                                                                               (Singapore)



                                                                           Debtor                              Non-Debtor                                     Atlantis Technology                     Alameda Aus Pty           Alameda Research             Alameda TR                                                                                          FTX EU Ltd (f/k/a K-
                                                                                                                                                                                                                                                                                                                                                                                            FTX Crypto
                                                                                                                                                                                                                                                                                                                                                                   DNA Financial                                    FTX Switzerland
                                                                                                                                                                       Ltd.                                 Ltd                    Yankari Ltd            Systems S. de R. L.                                                                                                              Services Ltd.                                                     FTX Japan K.K.            Analisya Pte Ltd **
                                                                                                                                                                                                                                                                                                                                                                   Services Ltd)                                        GmbH
                                                                                                                                                                    (Antigua)                            (Australia)                (Nigeria)                  (Panama)                                                                                                                      (Cyprus)                                                            (Japan)                  (Singapore)
                                                                                                                                                                                                                                                                                                                                                                      (Cyprus)                                        (Switzerland)




                                                                                         WRS SILO                                                                                                       Strategy Ark
                                                                                                                                                                                                       Collective Ltd.           Blue Ridge Ltd             Cedar Bay Ltd                                                                                        FTX Exchange FZE       FTX Trading GmbH
                                                                               Independent Director: Mitchell Sonkin                                                                                                                (Antigua)                 (Antigua)                                                                                                (UAE)                (Germany)
                                                                                                                                                                                                          (Antigua)



                                                                                                                                                                                                                                                       SNG INVESTMENTS
                                                                                                                                                                                                      Cottonwood Grove          Alameda Research          YATIRIM VE
                                                                                    ALAMEDA SILO                                                                                                                                                                                                                                                                                                                                                            100%                                    100%
                                                                                                                                                                                                             Ltd                  (Bahamas) Ltd          DANIŞMANLIK
                                                                                                                                                                                                         (Hong Kong)                (Bahamas)           ANONİM ŞİRKETİ
                                                                              Independent Director: Matt Rosenberg                                                                                                                                          (Turkey)                                                                                                                      FTX Derivatives                                                  Quoine Vietnam Co.           Quoine India Pte
                                                                                                                                                                                                                                                                                                                                                                                             GmbH**                                                               Ltd                         Ltd
                                                                                                                                                                                                                                                                                                                                                                                           (Switzerland)                                                       (Vietnam)                    (India)

                                                                                                                                                                                                         Hive Empire
                                                                                                                                                                                                      Trading Pty Ltd **
                                                                                   VENTURES SILO                                                                                                          (Australia)

                                                                                   Independent Director: Rishi Jain




                                                                                     DOTCOM SILO
                                                                  Independent Directors: Joseph Farnan and Matt Doheny




                    * Percentages directly held by each of Sam Bankman-Fried, Gary Wang and Nishad Singh in individual entities varies.
                    ** Indicates non-operational subsidiary entity.
                    *** 99% held by FTX Trading Ltd.
